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                           UNITED STATES BANRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In Re: SKAPARS, YVONNE V.
       SSN: xxx-xx-5580                               Chapter 13
                                   Debtor(s)          Case No 15-11221-JNF


                               NOTICE OF WITHDRAWAL OF
                              TRUSTEE’S MOTION TO DISMISS

      Now comes Carolyn Bankowski, Standing Chapter 13 Trustee, and respectfully
withdraws her Motion to Dismiss this case, which motion was filed on May 05, 2015, and for
reasons states that the Debtor has cured the grounds alleged in the Motion.

Dated: December 03, 2015               Respectfully submitted,

                                       By: /s/ Carolyn Bankowski
                                       Carolyn Bankowski, BBO #630156
                                       Patricia A. Remer, BBO# 639594
                                       Chapter 13 Trustee
                                       Office of the Chapter 13 Trustee
                                       PO Box 8250
                                       Boston, MA 02114
                                       (617) 723-1313
                                       13trustee@ch13boston.com

                                      Certificate of Service

        The undersigned hereby certify that a copy of the within Notice of Withdrawal by
Chapter 13 Trustee of the Motion to Dismiss was served upon the Debtor and Debtor’s counsel
via first class mail, postage prepaid, or by electronic notice at the addresses set forth below.

Dated: December 03, 2015

                                          /s/ Carolyn Bankowski

Yvonne V. Skapars
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Yarmouth Port, MA 02675

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